Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 Lote fios

_ Fill in this information‘to identify your case:

 

 

Debtor 1 : A é

Middle Name Last Name
Debtor 2
(Spouse, ff filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: Eastern District of New York

Case number [= { q = uy f 4Q-CEy . NY : - QI Check if this is an

known) ‘ amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

ae Summarize Your Assets

 

Your assets
Vaiue of what you own
1. Schedule A/B: Property (Official Form 106A/B) 0
ta. Copy line 55, Total real estate, from Schedule A/B $ 0 +

1b. Copy line 62, Total personal property, from Schedule A/B

1c. Copy line 63, Total of all property on Schedule A/B oo... .eccccececceccesccsseeeeesnesssnesesenssescseseseasacsescacsecssenseseseeecasevsesareaavesarates $ 9 036 cB
Be Summarize Your Liabilities

 

Your liabilities
Amount you owe

veceeeeetae s__450, 000~

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) Q
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F $

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F oo... ccc cee eeene + 5 15. PH a
Your total liabilities $ 6; , § 0+

 

 

 

 

| Part 3: | Summarize Your Income and Expenses

4. Schedule I: Your income (Official Form 1061)
Copy your combined monthly income from line 12 of Schedule |

5. Schedule J: Your Expenses (Official Form 106J) ")
Copy your monthly expenses from line 22c Of SCHEGUIC J o...ec.ceccscccscscescscssecvesessscecacssevetsastve vevesuevativessuevasuavacavessasuevecsasnes $ -

age 10
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information pag

 
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

~ Debtor 1 Ray mond H U 4 a Huren ALA N CHeTeE Case number (if known) 1-149 * uu QU ~ CL.

First Nami Middie Name

 

Ga Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

Y You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

 

 

7 was of debt do you have?
Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9q for statistical purposes. 28 U.S.C. § 159.

CJ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 1224-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 74. $ 1 Of ) —

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.

Total claim

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) s “OO.
9b. Taxes and certain other debts you owe the government. (Copy fine 6b.) sO

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) ae

9d. Student loans. (Copy line 6f.) $ & ~

9e. Obligations arising out of a separation agreement or divorce that you did not report as $ ~E.

priority claims. (Copy line 6g.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +S ea.

9g. Total. Add lines 9a through 9f. $ A.

 

 

 

 

age 11
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information pag

 
Case 1-1y-44942-cec Doclo Filed L0/0l/ly Entered LOjOl/19 Lote floss

Fill in this information to identify your case and this filing:

 

 

Debtor 1

Middle Name Last Name
Debtor 2
(Spouse, ff filing) First Name : Middle Name Last Name

United States Bankruptcy Court for the: Eastern District of New York

Case number 4-4.9- 44QuD - CEC

LJ Check if this is an
amended filing

 

Official Form 106A/B
Schedule A/B: Property 425

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question,

 

 

aa Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do youown or have any legal or equitable interest in any residence, building, land, or similar property?

C) Mo, Go to Part 2.
Yes. Where is the property?
i ?
What is the property? Check all that apply. Do not deduct secured claims or exemptions, Put

@ Os gle-family home the amount of any secured claims on Schedule D:
1.1. 4: “ Evy Oi r Creditors Who Have Claims Secured by Property.

Street address, if available, or other description Duplex or multi-unit building
Q) Condominium or cooperative Current value ofthe Current value of the
! | ar, RB 0 Pp} N N (J Manufactured or mobile home entire property? yO you own?
~ (0 Lang 5 9 I k $
B h nN CJ Investment property
a ZAC ef: (] Timeshare Describe the nature of your ownership
City tate ZIP Cade interest (such as fee simple, tenancy by

UI other the entireties, or a life estate), if known.
ar

(| who an interest in the property? Check one. at
ben g ) Cou Debtor 1 only

 

 

 

County CJ Debtor 2 only
Q debtor 1 and Debtor 2 only C) Check if this is community property
g (see instructions)

At least one of the debtors and another
Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than one, list here:

i ?
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

Q Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

4.2. QO Duplex or multi-unit building Creditors Who Have Claims Secured by Property.

Street address, if available, or other description
C) Condominium or cooperative Current value of the Current value of the
C) Manufactured or mobile home entire property? portion you own?
QO) tana $ §
C} Investment property

. C] Timeshare Describe the nature of your ownership

City State ZIP Code interest (such as fee simple, tenancy by

CJ other the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.

 

] Debtor 1 only

C) Debtor 2 only

C) Debtor 4 and Debtor 2 only (J Check if this is community property
(2 At least one of the debtors and another (see instructions)

 

County

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule A/B: Property page 12
Case 1-19-44942-Cec

» ett Ka d

First Name Middle Name

  

 

Last Name

 

 

 

 

What is the property? Check ail that apply.
| Single-family home

 

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Case number or known, 1-14- Gugda CEC.

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:

 

 

 

 

1.3. Creditors Who Have Claims Secured by Property.
Street address, if available, or other description Q Duptex or multi-unit building
(] Condominium or cooperative Current value of the Current value of the
() Manufactured or mobile home entire property? portion you own?
C] Land $ 5
L} Investment property
City State ZipCode (1 Timeshare Describe the nature of your ownership
oO interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
C} Debtor 1 only
County C) Debtor 2 only
C) Debtor 4 and Debtor 2 only Q) Check if this is community property
() At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ O 2g,
you have attached for Part 1. Write that number here. ..............ccccccceecececeecenseeevessseesveasacesaesceueetsegavsnenseecsesa neues »>

ie Describe Your Vehicles

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

|
Yes

3.1. Make: 0 pS
Model: PUSIO
Year: 0

Approximate mileage:

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2, Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Official Form 106A/B

 

Ae an interest in the property? Check one.
Debtor 1 only

CL) Debtor 2 only

(] Debtor 1 and Debtor 2 only

LJ} At least one of the debtors and another

C] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C] Debtor 4 only

C] Debtor 2 only

C) Debtor 1 and Debtor 2 only

() At least one of the debtors and another

Q) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

s 5000 2 s5000*°

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

page 13
Case 1-19-44942-Cec

Debior 1

Middle Name

First Nasge

3.3. Make:
Model:
Year:
Approximate mileage:

Other information:

 

Last Name

 

 

 

 

3.4. Make:
Model: __ .
Year:

Approximate. mileage:

Other information:

 

 

 

 

Doc lo Filed L0/Ol/Ly Entered LO/OlL/1S Lote fios

Who has an interest in the property? Check one.

] Debtor 1 only

J Debtor 2 only

C] Debtor 1 and Debtor 2 only

(Cl At teast one of the debtors and another

() Cheek if this is community property (see
instructions)

Who has an interest in the property? Check one.

() Debtor 1 only

C) pebtor 2 only

(] Debtor 1 and Debtor 2 only

C] At teast one of the debtors and another

(] Check if this is community property (see
instructions)

Case number known 4-44- 4ULG bd - CEL.

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:

Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Yn Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
N

°

CO) yes

4,1. Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

4.2, Make:
Model:
Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

Who has an interest in the property? Check one.

C) Debtor 4 only

QC) Debtor 2 only

(J Debtor 1 and Debtor 2 only

(] At least one of the debtors and another

(3 Cheek if this is community property (see
instructions)

Who has an interest in the property? Check one.

CL) Debtor 1 only

() Debtor 2 only

() Debtor 1 and Debtor 2 only

(] At least one of the debtors and another

(J Cheek if this is community property (see
instructions)

Schedule A/B: Property

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims.on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

 

 

 

 

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Case 1-1y-44942-cec DOoCclo Filed LO/Ol/1Ly

Debtor 1 “ L Ne etle
irst Narge Middle Name Last Name
| Pare 3: | Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

entered LOjOL/19 Lote fio5

Case number (irknown) t-i - uy Ud - CEC,

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
OC) No
ves Describe......... Washin maching saryér, (3) re Fei guators, furniture , Chi 1a y $ 1O 000. 00
at
boiler System, hot water tank, @Sovens, etc .
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
L) Wo
Wvee Describe.......... Television, Computers, etereo, camer 4, medida player $ 000.7
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
) .
cs Describe.......,.. Basebal| card colléction , Painmngs /Artwork, ete. 5 { 00 000. oo
__t¥,~s
9. Equipment for sports. and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment: bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
a ,
Wes, Descite... Panto ) Tennis racquets , Camera, bieveles, 2¥ercise 2AM P- § 900,00
Sa
ment, ote.
10. Firearms
eyes Pistols. rifles, shotguns, ammunition, and related equipment
No
C} Yes. Describe.......... $
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
We 3 |
Yes. Describe. ......... Mart's Suits, coats , shoes, ete. $ S. 000.°
rere
12, Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
o/e r
Yes. Describe.......... Warches wedding ring s___ 4 000.°°
13. Non-farm animals

Examples: Dogs, cats, birds, horses

C] No

 

 

 

 

 

 

 

 

 

 

Yes. Describe.......... Dog $ 0. 9°
14. Any other personal and household items you did not already list, including any health aids you did not list
No
C) Yes. Give specific $
information. 00.00.00.
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ . 00
for Part 3. Write that number ere oo... cseccsscessssssesoevneccusseessserenssessessssnssnsnsarsasectasacsseccesoaeennacesnuceesussrenieanesinstennesesennaneceanessee >
Official Form 106A/B Schedule A/B: Property page 15

 

 
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Debtor 1 oy on 4 ttM B "I N- ANC Ge Case number (if known) 4-(4 -4UuG 9. ~ CEC.

Last Name

 

eo Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
46.Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

ve
YOS oer Institution name:

17.1, Checking account: B an K of A mé mez $ S000. oo
17.2. Checking account: mM C. U $ ~9O

 

 

 

 

 

 

 

 

17.3. Savings account: $
17.4, Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: STAS H | nv eg mén rs 3 § ) . oo
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $

 

18. Bonds, mutual funds, or publicly traded stocks
cuaphies Bond funds, investment accounts with brokerage firms, money market accounts
No

i Institution or issuer name:

 

 

 

 

 

 

$
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
C) xo Name of entity: % of ownership:
Yes. Give specific Got Am reréeu lee 0% 100 » | 00 000. °°
information about ° . . vv TT $f
HREM cscs Revelation Plarim MNediag Hiblishtng 0% 100% s__ 409,000.00
U r 0% % 5

 

 

Official Form 106A/B Schedule A/B: Property page 16

 
Case 1-19-44942-Cec

 
  

Debtor 1

Middle Name Last Name

 

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ANCHETIE

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

we

 

 

 

 

Case number or known i-l q- YY g val 7 CC.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Ll Yes. Give specific issuer name:
information about
THEM. wee $
$
$
21. Retirement or pension accounts
ia Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
No
CO Yes. List each
account separately. Type of account: institution name:
401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landiords, prepaid rent, public.utilities (electric, gas, water), telecommunications
a or others
No
CD Yes cece Institution name or individual:
Electric: $
Gas: $.
Heating oil: $
Security deposit on rental unit: g
Prepaid rent: $
Telephone: 3
Water: $
Rented furniture: $
Other: g
a (A contract for a periodic payment of money to you, either for life or for a number of years)
No
CD Yes cece issuer name and description:
$
$

 

Official Form 106A/B

Schedule A/B: Property

 

page 17
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Debtor 1 n Ly Case number ¢f known), 1 -{ G- Ud GuQ * OL.

 

First Name Middle Name Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 USC. §§ 530(b)(1), 529A(b), and 529(b)(1).

LD VES insistent Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

 

ON
Wes. Give specific The Rutren - Rlanchetfe Fownt ly Revocab leLi ving Trust $ { 500 000. °°

information about them....

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

oy

Yes. Gi ifi i

eration saben. ppoparties aggd Futur ¢ ag.cearaey is Pec propertitse? | uf oo? opp.ce
Og

 

 

 

tion Pilg rim Media? ha (ishi

27. Licenses, franchises, and other waren et intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

No

LJ Yes. Give specific
information about them....

 

 

 

Money or property owed to you? , Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

28. a owed to you
No

 

QO} Yes. Give specific information Federal: $
about them, including whether
you already filed the returns State: $

and the tax years. 000... Local: 5

 

 

 

29, Family support
a Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

No

 

 

 

 

 

C) Yes. Give specific information..............
Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
WNo
CJ Yes. Give specific information..............
$

 

 

 

Official Form 106A/B Schedule A/B: Property page 18

 
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

ude F =| ale Case number (if known d ~1. q- YY q 44 * CEG

Middie Name Las! Name

   

Debtor 1

   

31. Interests in insurance policies
a Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance
No

L) Yes. Name the insurance company

” Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

ON ‘
Wes Give specific information.............. ‘Parrot The Ructen- Blanendliz Fam? ly Revocable

Living Trust ineludedin 26

33, Claims against third parties, whether or not you Rave filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

 

 

 

 

C} No
(Yes. Describe each claim. occ Claim againgt %), ober, CSG. tor legal malpractice,
ves. Desenme sen Elaine adh eet So) a atacl behead eee 5 2,000, 000.e0

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

We off claims
No

() Yes. Describe each claim...

 

 

 

 

 

 

 

 

 

$
35. aa assets you did not already list
No
C] Yes. Give specific information............ $
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached oo
for Part 4. Write that number here ........ccscsceeccsccesseeteeresesseaeeneeneennernevecreeeesereeersuseseenessnsnennuenarcteessnunsececenimnmcecscieseaaanet > $ ‘

 

 

| Parts: | Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37, ne own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.
C} Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

38. Accounts receivable or commissions you already earned

QC] No
L] Yes. Describe.......

 

 

 

 

39, Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

LC) No
C) Yes. Deseribe....... 5

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 19

 
Case 1-19-44942-ceC DOC lo Filed LU/Ul/19 Entered LU/U1/19- 10.2 fi53

Deter ‘aymond Hude Bugen-BlaneHetc — cornmnm dA 4- 44QU9,- CEC.

 

Middle Name Last Name

40, Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 

 

 

 

 

CJ No

C) Yes. Describe....... 5
41. Inventory

L) No

C] Yes. Describe... $

 

 

 

42. Interests in partnerships or joint ventures

 

 

 

 

 

 

 

 

 

 

 

 

 

 

L] No
UI) Yes. Deseribe....... Name of entity: % of ownership:
% $
%
% $
43. Customer lists, mailing lists, or other compilations
CY No
C) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
C] No
C] Yes. Describe........
$
44. Any business-related property you did not already list
LY No
C) Yes. Give specific $
information ......... er
S$
$ _~
$
$
$
45, Add the doliar value of ail of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number Here oo....ccccccccccccccsscsesssseesessssseecsssessssssseesesessecesuanessasessanasesesesnasesneneneesitsssetssnaesseeneeteaseetseseet >

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46. an own or have any legal or equitable interest in any farm- or commercial fishing-related property?
No. Go to Part 7.
CI Yes. Go to fine 47,

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

47, Farm animals
Examples: Livestock, poultry, farm-raised fish

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 20

 
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

| Debtor 1 UFEI -BLan Case number (known) 4- 19-4 4449. CEC,

First Narge Middle Narre Last Name

48, Crops—either growing or harvested

C] No

(C] Yes. Give specific
information............ $

 

 

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C] No
ee
3
50. Farm and fishing supplies, chemicals, and feed
LI} No
CD Yes ose
$
51.Any farm- and commercial fishing-related property you did not already list
LI No
C] Yes. Give specific
information. ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number here oo... cece sesssesseessenessenseesbusevanecssaiacsiisessnssseessicessanscssenssvaeseiimeavesteersauicessessseenecsseessn >
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
i Season tickets, country club membership
No
LI) Yes. Give specific $
information. ............
54. Add the dollar value of all of your entries from Part 7. Write that number here ooo... cc ccectestesseescsseesesesveseneenseces »> 5.

 

 

List the Totals of Each Part of this Form
©
55. Part 1: Total real estate, Fe 2 ooo. cceccccccccsssecsescsseesessesevscssvesassvacssvveseavesssisecasusvavacspusesssvssssuivsssserssuiestuecresasisetsssgsieevasusssnevarenseve »> $ 00 00gg.°

56. Part 2: Total vehicles, line 6 $ §,000.%
57. Part 3: Total personal and household items, line 16 $ 1a, 000.9%?

a $10 rT)
58. Part 4: Total financial assets, line 36 $ .
59. Part 6: Total business-related property, line 46 $ Q

 

60. Part 6: Total farm- and fishing-related property, line 62 $

61. Part 7: Total other property not listed, line 64 +S g

, f 4 Se o
62. Total personal property. Add lines 56 through 61. 0.0.0. $ 9,936,592 Copy personal property total > +s 36 “

 

 

 

 

 

 

G 2 eo
63. Total of all property on Schedule A/B. Add line 55 + fine 62... cc cece cece cectenaecneeeneetenseeeeesnneeenensaaeeeneseentanerees 3 O36 5¥ .

 

 

 

Official Form 106A/B Schedule A/B: Property page 21
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Fill in this information to identify. your case:

Debtor 1
Middle Name Lasi Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

 

United States Bankruptcy Court for the: Eastern District of New York

Case purer di-f G - udg 49-GE Cc. L) Check if this is an

(If known amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

aa identify the Property You Claim as Exempt

1. wip set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C] You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief desoription of the property and line on Current value of the Amount of the exemption you olaim Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief Family Home ; 200K Os Feder tead/
description: Wo —KemMatriIn
Line from 100% of fair market value, up to l
Schedule A/B: | ° | any applicable statutory limit
Sosatiption: ferson a | veh ie| @ ¢s SK Os
Line from 3. { Wfoo% of fair market value, up to
Schedule A/B: any applicable statutory limit
osaription: Household Goods $ | O K Qs
Line from Br00% of fair market value, up to
Schedule A/B: any applicable statutory limit

3. Are you claiming a homestead exemption of more than $170,360?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
No
QC] Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

C} No
Cl Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 22
Case 1-19-44942-Cec

Debtor 1 q faumond Ht. uFEN-| ) anede m=
~ First Ngne Middle. Name Last Name
eae 2: Page

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Case number (irknown) {- 19- UY q4a- CEC

 

Brief description of the property and line

on Schedule

Brief
description:

Line from

A/B that lists this property

Extelronies

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Colleetiblee
Y

Sporte, Equipment
4

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Current value of the
portion. you own

Copy the value from
Schedule A/B

<A

UK

|00K

AK,

SK

Amount of the exemption you claim

Check only one box for each exemption

Lis
(100% of fair market value, up to
any applicable statutory limit

Q)

100% of fair market value, up to
any applicable statutory limit

(ls

100% of fair market value, up to
any applicable statutory limit

 

wi
100% of fair market value, up to

any applicable statutory limit

 

 

0% of fair market value, up to
any applicable statutory limit

 

(100% of fair market value, up to
any applicable statutory limit

 

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

wo
100% of fair market value, up to

any applicable statutory limit

 

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

Os
w00% of fair market value, up to
any applicable statutory limit

 

700% of fair market value, up to
any applicable statutory limit

 

Cl 100% of fair market value, up to
any applicable statutory limit

 

 

C) 100% of fair market value, up to
any applicable statutory limit

CJ 5
Wt
Jewelry $ 4 K a
12
Animal $ 250- Os
13
Cash $ i500
_I6@
Deposit, ss s_—F O92
|
Revelation Pi ci s 500K as
AG
$ Ls
$ Ls
$ Cis

 

C) 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Specific laws. that allow exemption

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roper

Federal personal
proper

 

 

 

 

 

 

 

 

Fad era | persona {
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Feder, ersona
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Federal personal
0. Ions

 

 

Fad era personal

 

 

Federal wildeard

 

 

 

 

 

 

 

 

 

 

 

 

 

 

page 23
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

PT ney lated el aice) Cola, Ae ze Lo

Debtor 1 0) EN- NcHE Ee

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Eastern District of New York

Case number {- 14- UdG4 9 - - CEC.

iit known) LJ Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do any creditors have claims secured by your property?
C} No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below.

a List All Secured Claims

}

— CoumnB =——s Column C
Value of collateral “Unsecured

that supports this portion

a olaim _ _Teany

[2a Fremonte/o Me. Coope r Describe the property that secures the olaim: s_450, 000.00 5 $o00: ~e~
Cregitar's Name
85 0Cypceee waters Bla Tw 0(25 Family pergona| reidence

As of the date you file, ‘the claim is: Check all that apply.
QO Contingent

Coppell, Texas, 78014 passe

 

| 2, List all secured claims. If a creditor has more than one-secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor's name.

 

 

 

 

 

 

 

 

 

Who owes the debt? Check one. Nature of lien, Check ail that apply.
Debtor 1 only Wan agreement you made (such as mortgage or secured
Cl) Debtor 2 only car loan)
() Debtor 1 and Debtor 2 only C) Statutory lien (such as tax lien, mechanic's lien)
CJ Atleast one of the debtors and another CJ Judgment lien from a lawsuit

) other (including a right to offset}

non bist 4 -ast 4 digits of of accou: account tnumber 4 0. Q a

manor Tor

(2 Gheok if this claim relates to a
community debt

 
   
 

Date debt was inourred

Describe the property that secures the olaim: $ $ $

 

 

 

Creditors Name

 

 

 

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
OQ Contingent
OQ) unliquidated
City State ZIP Code © pisputed
Who owes the debt? Check one. Nature of lien, Check all that apply.
Debtor 1 only () An agreement you made (such as mortgage or secured
() Debtor 2 only car loan)
C) Debtor 1 and Debtor 2 only (1 Statutory tien (such as tax lien, mechanic's lien)
CJ Atleast one of the debtors and another C1 Judgment tien from a lawsuit
C) Other (including a right to offset)
C} Check if this claim relates to a

community debt
Date debt was incurred Last 4 digits of acocount number

Add the dollar value of your entries in Column A on this page. Write that number here: b YSO,000-]

 

 

Officiat Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 24
Case 1-1y-44942-cec Doclo Filed LO/0l/ly Entered LOjOl/19 Lote floss

Elle Case number (known) t- 19- YuQ U a ~CEC

Fen-W.

  

Debtor 4

First Nae Middle Name Last Name

 

 

     
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Additional Page coun A Cee eee’
sg: . . oe . Amountofolaim Value of collateral... Unsecured
After listing any entries on this page, number them beginning with 2.3, followed a thats is portion
by 2.4, and so forth Ba not deduct the nats P ,
y¥ 4.4, and So Tort. value of collateral, olaim Ikany ©
Desoribe the property that secures the olaim: $ $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
) Contingent
City State ZIP Code Q) Unliquidated
C) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
1 debtor 1 only C2 An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
( Debtor 4 and Debtor 2 only (2 Statutory lien (such as tax lien, mechanic's lien)
C) Atteast one of the debtors and another QO Judgment lien from a lawsuit
(1 Other (including a right to offset)
() Cheok if this claim relates to a
community debt
Date debt was inourred Last 4 digits of account number,
LJ Describe the property that secures the olaim: 3 $ $
Creditors Name
Number Street
i As of the date you file, the claim is: Check all that apply..
: Q Contingent
: unliquidated
City State ZIP Code QO Disputed
?
Who owes the debt? Check one. Nature of lien. Check ail that apply.
C1 Debtor 4 only CQ) An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
€) Debtor 1 and Debtor 2 only C) Statutory fien (such as tax lien, mechanic's lien)
C) Atteast one of the debtors and another 1 Judgment lien from a lawsuit
includi .
C] Cheok if this olaim relates to a C1 Other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of ascountnumber
L_| Describe the property that secures the claim: $ $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
(C) Contingent
City State ZIP Code (1) Unliquidated
QO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only () An agreement you made (such as mortgage or secured
€) Debtor 2 only car loan)
( Debtor 1 and Debtor 2 only () Statutory lien (such as tax lien, mechanic's lien)
C) Atleast one of the debtors and another QO) Judgment tien from a tawsuit
C) other (including a right to offset)
C] Cheek if this claim relates to a
community debt
Date debt was incurred Last 4 digits of accountnmumber_
Add the dollar value of your entries in Column A on this page. Write that number here:
If this is the last page of your form, add the dollar value totals from all pages.
_. Write that number here:
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 25

 
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Debtor 4 Haya id Luc le . fy Fi EN- Bl bie Case number (known) f- 1 q- 4 4 qu a - CEC

ic List Others to Be Notified for a Debt That You Already Listed

 

Use this page only if you have others to be notified about your bankruptoy for a debt that you already listed in Part 1. For example, if a collection

agenoy is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the colleotion agenoy here. Similarly, if

you have more than one oreditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
_ be notified for any debts in Part 1, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

L On which line in Part 1 did you enter the creditor?
Name oo Last 4 digits of accountnumber
Number Street
City State ZIP Code

| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of accountnumber
Number Street
City State ZIP Code

a On whioh line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code

On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code

On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code

[| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of aoscount number
Number Street

 

 

City State ZIP Code

page 26
Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Fill in this information to identify your case:

  

Debtor 1 Kaumond Hude ( UFEN-PLANCHETS

First Npme Middle Name Last Name

      

Debtor 2

(Spouse, # filing) First Name

 

Middie Name Last Name

United States Bankruptcy Court for the: Eastern District of New York

Case number _ 149 - HUQUD -CEC

(lf known}

CJ Check if this is an
amended filing

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could resuit in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

12/15

 

Cae List All of Your PRIORITY Unsecured Claims

 

1. iy creditors have priority unsecured claims against you?
N

o. Go to Part 2.
U] Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. Ifa claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according tothe creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each typeof claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

“Tetal claim Priority. Nonpriority
amount. amount
2.4
Last 4 digits of account number _ $ $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the olaim is: Check all that apply
City State ZIP Cade C1 Contingent
C1 unliquidated
Who inourred the debt? Check one. O op
Disputed
C) Debtor 4 only
() Debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only C) Domestic support obligations
At least one of the debtors and another CV Taxes and certain other debts you owe the government
Q) Cheek if this olaim is for a community debt C) Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
(No C) Other. Specify
OG Yes
fa2 | Last 4 digits ofacoountnumber SS $ $
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
Eity State ZIP Cade 2) unliquidated
Who inourred the debt? Check one, C1 Disputed
fs .
U1 debtor 1 only Type of PRIORITY unsecured claim:
(2 Debtor 2 only . ye
C) Domestic support obligations
CU) Debtor 1 and Debtor 2 only g .
C0 At least one of the debtors and another a Taxes and certain other debts you owe the government
neat a . Claims for death or personal injury while you were
(2 Cheek if this claim is for a community debt intoxicated
Is the olaim subject to offset? Cl Other. Specify
(I No
Q Yes —
page 27

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims
Case 1-19-44942-Cec

  

Debtor 14
Middle Name

| Part 4: Your PRIORITY Unsecured Claims — Continuation Page

 

 

 

 

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Hude Ruren-BLAancHeTte

Last Name

Case number (itknown) {- { q. ibd q Lf 7) CEC.

___Nonpriority

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After-listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.
P y enpric
amount.
Last 4 digits of account number $ $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
) Contingent
City State ZIP Code C) untiquidated
oO Disputed
Who inourred the debt? Check one.
{1 Debtor 1 only Type of PRIORITY unsecured claim:
Debt
U1 Debtor 2 only 1 Domestic support obligations
(] Debtor 4 and Debtor 2 only oO :
Taxes and certain other debts you owe the government
C] At feast one of the debtors and another . a .
(J Claims for death or personal injury while you were
C] Check if this olaim is for a community debt intoxicated
OC) other. Specify
Is the claim subject to offset?
OC) No
U) Yes
Last 4 digits of account number _ __ $ $ $
Priority Creditor’s Name
When was the debt inourred?
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code (2 Untiquidated
Q Disputed
Who inourred the debt? Check one.
CI Debtor 4 only Type of PRIORITY unsecured claim:
U1 Debtor 2 only C) Domestic support obligations
() Debtor 1 and Debtor 2 only QO .
Taxes and certain other debts you owe the government
Cl] At least one of the debtors and another , _ ,
(Claims for death or personal injury while you were
() Cheek if this claim is for a community debt intoxicated
C) other. Specify
Is the claim subject to offset?
C) No
C) Yes
Last 4 digits of account number $ $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the olaim is: Check all that apply.
QO Contingent
City State ZIP Code CQ) Untiquidated
Q Disputed
Who inourred the debt? Check one,
(2 Debtor 4 only Type of PRIORITY unsecured claim:
Q) Debtor 2 only C2 Domestic support obligations
1 Debtor 1 and Debtor 2 only .
QO] Taxes and certain other debts you owe the goverment
C] At least one of the debtors and another : a .
() Claims for death or personal injury while you were
U] Cheok if this claim is for a community debt intoxicated
LJ other. Specify
Is the claim subject to offset?
OC) No
_ Olrves ce
page 28

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Debtor 1 Q uqéd FEN- N TE Case number (known) {- { q - ub Yu). CEC

First Nal Middie Name Last Name

ae List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

CT pic’ You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

 

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. ifa creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.

Total claim

FORNMoToR CRE bir /; RuBin Ror HAN as digits of aosount umber. 4 2 O 15,870—

Nonpriority Creditors Name

44 Xt 1 eferan @ L quay eto. ad When was the debt incurred? QOOH,
landia ,NowYork 11444

City State ZIP Code As of the date you file, the claim is: Check ail that apply.

 

QO Contingent

wng/moured the debt? Check one. C1 yrtuited
Debtor 71 only Disputed

(2 Debtor 2 only
() Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:

 

 

 

 

 

 

( At teast one of the debtors and another C Student joans
RY’ Cheek if this claim is for a community debt QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
a claim subject to offset? L) Debts to pension or profit-sharing plans, and other similar debts
No CD Other. Specify Cor Oar)
C] Yes
2 Last 4 digits ofaccountmumber g
Nonpriority Creditor’s Name When was the debt incurred?
Number Street
As of the date you file, the olaim is: Check all that apply.
City State ZIP Code

© Contingent
Who inourred the debt? Check one. O) Unliquidated
Q) Debtor 4 only Q) Disputed
C) Debtor 2 only

C1 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:

 

 

C) At least one of the debtors and another CJ Student loans
g pase oe . C) Obligations arising out of a separation agreement or divorce
Cheok if this olaim is for a community debt that you did not report as priority claims
Is the claim subject to offset? (J Debts to pension or profit-sharing plans, and other similar debts
OC) No Cl other. Specify
C) Yes
Iss | oe
Last 4 digits of account number

 

Nonpriority Creditors Name | $
When was the debt inourred?

 

Number Street

As of the date you file, the claim is: Check all that apply.

 

City State ZIP Code

a Contingent
| Unliquidated
Q) Disputed

Who incurred the debt? Check one.
OQ) Debtor 1 only
C] Debtor 2 only

U1 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
LJ At least one of the debtors and another

CQ) student loans
CQ} Cheok if this olaim is for a community debt (1 Obligations arising out of a separation agreement or divorce
Is the claim subject to offset? that you did not report as priority claims _
C] Debts to pension or profit-sharing plans, and other similar debts
U No C) Other. Specify
CJ Yes :

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 29
Debtor 4

 

 

 

 

Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Case number (itknawn) {- 19- HUQ. ° G EC

Middle Name Last Name.

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

Nonpniority Creditors Name

 

Number Street

 

City State ZIP Code

Who inourred the debt? Check one.

C) Debtor 1 only
C) Debtor 2 only

After listing any entries on this page, number them beginning with 4.4, followed by 4.6, and so forth.

Last 4 digits of aocount number __
When was the debt inourred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
CY unliquidated
OQ Disputed

Type of NONPRIORITY unsecured claim:

 

Total claim

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

 

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

5 Debtor 1 and Debtor 2 only (2 Student loans
At least one of the debtors and another O) Obligations arising out of a separation agreement or divorce that
CJ Cheok if this olaim is for a community debt you did nat report as priority claims 7
C) Debts to pension or profit-sharing plans, and other similar debts
Is the olaim subject to offset? {) Other. Specify
C) No
Q) Yes
Last 4 digits of account number $
Nonpriority Creditor’s Name
When was the debt incurred?
Number Street . wo:
As of the date you file, the claim is: Check all that apply.
City State ZIP Code C1 contingent
© unliquidated
i 2
Who incurred the debt? Check one. oO Disputed
C] Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only Student toans
At least one of the debtors and another ) Obligations arising out of a separation agreement or divorce that
) Cheok if this claim is for a community debt you did not report as priority claims wo.
(2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? (1 other. Specify
CJ No
QC) Yes
a: §
Last 4 digits of ascount number ___ oe
Nonpriority Creditors Name
When was the debt incurred?
Number Street . woe
As of the date you file, the olaim is: Check all that apply.
City State ZIP Code Q) Contingent
; (2 Untiquidated
Who inourred the debt? Check one. C) Disputed
(2 Debtor 4 only
O Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only CO Student loans
At least one of the debtors and another CQ) Obligations arising out of a separation agreement or divorce that
©) Cheek if this claim is for a community debt you did not report as priority claims |
Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? LC] Other. Specify
1) No
Cl Yes
page 30

 
Case 1-19-44942-Cec

. Debtor 1 Koymond Hude Kucen-t Lane HETIE

Middle Name.

Last Name

Doc lo Filed L0/Ol/Ly Entered LO/OlL/1S Lote fios

Case number (known) 4-{ G -44GH) -CE C

| Part 3: | List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional oreditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

fuainé

Name

Number

Street

LLE
14.87 VeteranS ia h woul
GG ¢

 

 

glandia, NewYork 11749
City ' State ZIP Code

On which entry in Part 1 or Part 2 did you list the original creditor?

Line | of (Check one): ve 1: Creditors with Priority Unsecured Claims

Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number Gq ¢. 0. 2

 

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street (2 Part 2: Creditors with Nonpriority Unsecured
Claims
. Last 4 digits ofaccountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): ) Part 1: Creditors with Priority Unsecured Claims
Number Street ) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ Le
City _ State ZIP Code .
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street O) Part 2: Creditors with Nonpriority Unsecured
Claims
7 Last 4 digits of account number ___ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street (2 Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number __ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street ) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _
City State ZIP Code
N On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
Number Street . . se
() Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_

City

State

Official Form 106E/F

ZIP Code

page 31

Schedule E/F: Creditors Who Have Unsecured Claims
Case 1-19-44942-Cec

Debtor 4 G on Ri EF, = {|
First Nai Middle Name Last Name
par: Add the Amounts for Each Type of Unsecured Claim

ed
—

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Case number (itknoun) {- 14 = Gu Qu44- CEL,

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 169.
Add the amounts for each type of unsecured claim.

6a.

Total claims
from Part 1

6b,

6c.

6d.

6e.

Total claims
from Part 2

6h.

6i.

Domestic support obligations

Taxes and certain other debts you owe the
government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

, Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

Official Form 106E/F

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

6i.

6j.

Total claim
$ Co-
$. -©2-

+s ~©-

 

 

$ ~©-

 

 

Total claim

$ O-
§ ~C~

 

 

 

 

page 32

Schedule E/F: Creditors Who Have Unsecured Claims
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Fill in this information to identify your case:
Debtor - LA NGH ETT c
irst Neéme Middle Name Lasi Name

Debtor 2
{Spouse ff filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the; Eastern District of New York

Case number 1-14 = Yl qua- CEC

{if known}

LJ Check if this is an
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases?
oneck this box and file this form with the court with your other schedules. You have nothing else to report on this form.
Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

24 iY) + Tre ontract PN many ment
Name "Radio Station WYGG 36. LFiM in

$57 FBlat. Street Acbun Dark, N.3. by Revelotiow
Brooklyn, NewYorK 4/a10 Pilg \ediag Publishisg, LLC.

     
   

   

City State ZIP Code

2.2

 

Name

 

Number Street

 

_Gity ; State ZIP Code
2.3

 

Name

 

Number Street

 

; City ; : _ State ZIP Code
24

 

Name

 

Number Street

 

City “State ZIPCode

 

 

 

2.5

 

Name

 

Number Street

 

City State ZIP Code
page 33
Official Form 106G Schedule G: Executory Contracts and Unexpired Leases
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

N Te Case number (irknowm t- 19- uf Yad a ~ CEC Cc

Po Additional Page if You Have More Contracts or Leases

 

Debtor 1

 

Last Name

 

Middle Name

 

 

 

Person or company with whom you have the contract.or lease What the contract or lease is for
~~ Name

Number Street

City State ZIP Code

 

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

 

Name

 

Number Street

City “State ZIP Code

 

 

 

Name

 

Number Street

 

City State ZIP Code

 

24

t ‘—}

semnd

 

Name

 

Number Street

 

City State ZIP Code

 

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

 

: Name

 

| Number Street

 

City State ZIP Code

 

 

 

Name

 

Number Street

 

CY ccnngurasaausmusisneamctate ZIP Code
page 34

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Fill in this information to identify your case:

Debtor 1 aymond Hude : -uFEN-B Lane HET
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Eastern District of New York

Case number {-14- Uua UX ~ CEC

{if known) (} Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/45

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

 

41. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.)

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizopa, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No. Go to line 3.
Ld Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

LC} No

QJ Yes. in which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. in Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

 

 

 

 

1] Nadine Ruren-PLancete (ceLesTin) 9 sreaeome
1444 “32 XBrd Greet | wea EF tine 4.4
Honurd Beak, ny. fiygy 8

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

City SMO ZIP Code 7
3.2
() Schedule D, line
Name ——————
(J Schedule E/F, line
Number Street () Schedule G, line
on occa entire oe NE vo AIP Code
3.3
(] Schedule D, line
Name ———
OQ) Schedule E/F, line
Number Street (1 Schedule G, line
City State ZIP Code

: page 35
Official Form 106H Schedule H: Your Codebtors
Debtor 1

 

Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

ele Case number (if known). {- 1 q - UL Qu D- CEC

First Name Middle Name Last Name

Co Additional Page to List More Codebtors

 

Column 1: Your codebtor Column 2: The creditor to wham you owe the debt

  

Check all schedules that apply:

 

 

 

 

 

 
 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3. ys .
Adie
Name
C] Schedule Eset
Number Street Ql Schedule G, line
QO ) a
City / State cw ZIP Code
() Schedule D, line
Name —
OQ) Schedule E/F, line
Number Street () Schedule G, line
City State _ ZIP Code
.
O) Schedule D, line
Name
{) Schedule E/F, line
Number Street C] Schedule G, fine
: City State ZIP Code
O) Schedule D, line
Name
Q) Schedule E/F, line
Number Street QO) Schedule G,line_
b| City State . ZIP Code .
~ — ~ ) Schedule D, line
Name —_——__ :
(C) Schedule E/F, line i
;
Number Sireei C1 Schedule G, line i
City State ZIP Code
(2) Schedule D, line
Name -—-_
() Schedule E/F, line
Number Street Q Schedule G, line
City Slate ~__2IP Code
| (J) Schedule D, line
Name
C) Schedule EFF, line
Number Sireet C] ScheduleG, line
a] City RANE ce ter mel Cod]
Q) Schedule D, line
Name
OQ] Schedule E/F, line
Nomber Sheet OQ) Schedule G, line
City Stale ZIP Code

 

page 36

Official Form 106H Schedule H: Your Codebtors
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Fill in this information to identify your case:

 

Debtor 1

      

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Narne

 

United States Bankruptcy Court for the: Eastern District of New York

Case number Ee 4: 44 -f Ugug- Check if this is:

(if known}
(J An amended filing

(.] A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 MMT DDPYYYY

Schedule I: Your Income 1245
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.

If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

4. Fillin your employment

 

 

 

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job,
attach a separate page with
information about adaitional Employment status Employed Employed
employers. C) Not employed (J Not employed
Include part-time, seasonal, or ‘ fi
self-employed work. VY) Te i h 7 g
Occupation may include student Occupation gS oe = 7 ff aol ue ° ee
or homemaker, if it applies. Radi 1Q H ost é Med iQ oducer
Employer's name Q ATIC i( inetries Fuwd Kod CiTf{or

 

NewYork

 
  
 
 

Employer's address eénud _ ial Ave. of

Number Street

othtoor

 

 

Brooklyn, NY 1Q0% New York, NY 10d

City State "ZIP Code City ’ State ZIP Code \

How long employed there? Sy ears _Av eats
| Part 2: | Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2. s_1,000” 5 v0g—-

3. Estimate and list monthly overtime pay. 3. +3 OW + $ ‘So.

4. Calculate gross income. Add line 2 + line 3. 4, $ {, 000% $ 4 boo
\ page 37

 

 

 

 

 

Official Form 106! Schedule |: Your Income
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Debtor 1 Paumond Hude KuFEN -BLA NCHEME Case number ¢ranown) 1-14 AHO Ud. ~-CEC.

First Narge Middle Name Last Name

For Debtor 1 For Debtor 2 or
anon-filing spouse __

Copy fine 4 Rene... ccccccccscceseceneceneeeesneseeeeiecseteavesneeaneesterssssaenseeesessects >4 8 § f, 000.- $ Y, 000.-

5, List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions Sa. $ $
5b. Mandatory contributions for retirement plans 5b. § $
5c. Voluntary contributions for retirement plans Sc. $ $.
5d. Required repayments of retirement fund loans 5d. $ $
5e. Insurance Se. $§ $
5f. Domestic support obligations Sf. $. $
5g. Union dues 5g. $ $
5h. Other deductions. Specify: Sh. +$ + $
6. Add the payroll deductions. Add lines 5a + 5b + S5c+5d+5e+5f+5g+5h. 6. $ Oo $
7, Calculate total monthly take-home pay. Subtract line 6 from line 4. 7 § 1, 000. 90 $ y 000.~

8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total $ {5 000 00 $ re

monthly net income. 8a.
8b. Interest and dividends 8b. §

8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive

Include alimony, spousal support, child support, maintenance, divorce 5
settlement, and property settlement. 8c.

 

8d. Unemployment compensation 8d.
8e. Social Security 8e.

8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify: B.S

 

8g. Pension or retirement income 8g. §

8h. Other monthly income. Specify: 8h. +3

 

 

 

10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10.

OQ
0
Q
g. Add all other income. Add lines 8a + 8b + 8c + 8d + Be + 8f +8g + Bh. 9. $ 15 0007 $ uy , 000-

Az)
S
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ry
tA
F

ll
oF
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11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify: 11.6% & a

 

 

 

 

 

 

42, Add the amount in the last column of line 10 to the amount in fine 11. The result is the combined monthly income. 20 00
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. s_AY, 000—
Combined

monthly income
13, Do you expect an increase or decrease within the year after you file this form?

 

 

 

O pio.
Wves Explain: [Dy pect inéome to increase bevedon contracts antdGrowing mediawork .Lwitl amend
Vy

page 38
Official Form 1061 Schedule I: Your Income

 
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Fill in this information to identify your case:

 

, , = >
Debtor 1 aYMONnd Hude. Kure DL. Check if this is:

 

 

 

"First Name Middle Name
Debtor 2 j
(Spouse, if filing) Fist Name Middle Name Last Name Q An amended filing

L} A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Eastern District of New York expenses as of the following date:
i .

Case number 4 44. UUQY CEC MM / DD/ YYYY
{If known) .

 

Official Form 106J
Schedule J: Your Expenses 4215

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ae Describe Your Household
1. of. case?
No. Go to line 2.

LC} Yes. Does Debtor 2 live in a separate household?

OQ) No
C] Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

 

2. Do you have dependents? ON
a. Dependent's relationship to Dependent’s Does dependent live
Do not list Debtor 1 and Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent...
, 8 | a (2 No
Do not state the dependents on wy.
names. Yes
Oranddauahter 3 a
J Yes
Dovghter ss 2a.
Yes
Dauahter A] O yo
J Yes
) No
Cl Yes
3. Do your expenses include wns

expenses of people other than
__ yourself and your dependents? a Yes

Part 2: | Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule /: Your Income (Official Form 1061.) Your expenses
een LC
4. The rental or home ownership expenses for your residence. Include first mortgage payments and _ . d)
any rent for the ground or lot. 4. s__4,500 (is aute

If not included in line 4:

4a. Real estate taxes 4a. $ 3y Q =
4b. Property, homeowner's, or renter’s insurance 4b. $ 15 O-
4c. Home maintenance, repair, and upkeep expenses 4c. $ 15 O ~
4d. Homeowner's association or condominium dues 4d. $ O

Official Form 1064 Schedule J: Your Expenses page 39
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Debtor 1 Kaymand H ud Z Kurcen-i LA IN ETE Case number (rsnown) 1-14 - 4UGUS - CE CC

First Nag Middle Name Last Name

Your expenses

 

5. Additional mortgage payments for your residence, such as home equity loans 5.

6. Utilities:

6a. Electricity, heat, natural gas 6a. $ & OO-
6b. Water, sewer, garbage collection 6b. $ { 00-
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ FS O -

 

 

6d. Other. Specify: 6d. $
7. Food and housekeeping supplies 7. $ A00-
8. Childcare and children’s education costs 8. $ ASO-
9. Clothing, laundry, and dry cleaning 9. $ { {O-

10. Personal care products and services 10. $ 70-
11. Medical and dental expenses a) { $ O-

12. Transportation. Include gas, maintenance, bus or train fare. ISO
. $ -
Do not include car payments. 12.

43. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 3 O -
14. Charitable contributions and religious donations 14. $ 3200-

15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

 

 

15a. Life insurance 16a.
15b. Health insurance 1b.  §
15c. Vehicle insurance 15c. §$ 34 O-
15d. Other insurance. Specify: 16d. §

 

46. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $

 

17. Installment or lease payments:

17a, Car payments for Vehicle 1 17a, $s AO -

 

 

 

 

 

17b. Car payments for Vehicle 2 17. = §,
17c. Other. Specify: 17. §
17d. Other. Specify: 17a. $

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 6, Schedule I, Your income (Official Form 106)). 18. g o-

 

19. Other payments you make to support others who do not live with you.

 

Specify, [UITION 19. § qaQo-
20. Other real property expenses not included in lines 4 or 6 of this form or on Schedule |: Your Income.

20a. Mortgages on other property 20a. S$

20b. Real estate taxes 206. S$

20c. Property, homeowner's, or renter’s insurance 20. S$

20d. Maintenance, repair, and upkeep expenses 20d. S$

20e, Homeowner’s association or condominium dues 2e. S$

40
Official Form 106J Schedule J: Your Expenses page

 
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

U FEN 7 BL CHETTE Case number (known) 4 ~ 14 ~ LUG UA-CEC.

LaSt Name

  

Debtor 4

   

Middie Name

21. Other. Specify: 21. +5 ao

22, Calculate your monthly expenses.

22a. Add lines 4 through 21. 22a. $ ( ) PL )-

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b, $ ©.

22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $ 10, ¥30-

23, Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. s___ 0, 000:
23b,. Copy your monthly expenses from line 22c above. 23b. mG { 0 ert )-
23c. Subtract your monthly expenses from your monthly income. ¢ ’ 12 5
The result is your monthly net income. 23c. $

 

 

 

 

 

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
a payment to increase or decrease because of a modification to the terms of your mortgage?
No

C) Yes. _ Explain here:

Official Form 106J Schedule J: Your Expenses page 41
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Fill in this information to identify your case:

Debtor 1 P A ' ccc:
eon > Middle Name , Check if this is:

 

Debtor 2 C) An amended filing

(Spouse, if filing) First Name Middle Name Last Name
a CA supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Eastern District of New York expenses as of the following date:

Case number {- 19- U4“qUa- CEC MM 7 DDT YYYY

(if known}

 

 

Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2 1245

Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. /f Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form
only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

aoe Describe Your Household

1. . Debtor 1 maintain separate households?

No. Do not complete this form.

 

 

 

 

 

 

 

 

 

 

C] Yes
2. Do you have dependents? CJ No
Dependent's relationship to Dependent’s Does dependent live
Do not list Debtor 1 but list all ) Yes. Fill out this information for Debtor 2: age with you?
other dependents of Debtor 2 each dependent...
regardless of whether listed as a LI No
dependent of Debtor 1 on CO] Yes
Schedule J. Q
No
Do not state the dependents’ QO
names. Yes
C] No
C) Yes
LJ No
C) Yes
(No
C) Yes
3. Do your expenses include C1 No

expenses of people other than
yourself, your dependents, and Cl Yes
Debtor 1?

ae Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule /: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first morigage payments and rs
any rent for the ground or lot. 4. §
If not included in line 4:
4a, Real estate taxes 4a. $
4b. Property, homeowner's, or renter’s insurance 4b. $
4c. Home maintenance, repair, and upkeep expenses 4c. $
4d. Homeowner's association or condominium dues 4d. $

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2 page 42
Case 1-1y-44942-cec DOoCclo Filed LO/Ol/1Ly

 

Debtor 1

Middle Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:

10.
11.

12.

43.

14.

15.

16.

17.

18.

19.

20.

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

 

Food and housekeeping supplies

. Childcare and children’s education costs

Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 4
17b. Car payments for Vehicle 2
17c. Other. Specify:

 

17d. Other. Specify:

 

entered LOjOL/19 Lote fio5

cose number umm, A714 -4Y4QYQ-CEC

6a.

6b.

6c.

6d.

10.

41.

12.

13.

14.

15a.

15b.

18c.

15d.

16.

17a,

17b.

17c.

17d.

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 6, Schedule IJ, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.

Specify:

 

18.

19.

Other real property expenses not included in lines 4 or 6 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

20a.

20b.

20c.

20d.

20e.

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2

Your expenses

FA Ff fF fF Ff Ff fH Hf

ff fF Hf

fh th fA tA

mA Ff Ff FA

 

page 43
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Middle Naine Last Name

Debtor 4 ay mon Z =N~ : Hele Case number (known) {- {4- UG) - CEC

21. Other. Specify: 21. +5

 

22, Your monthly expenses. Add lines 5 through 21.
The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the
total expenses for Debtor 1 and Debtor 2. 22. $

 

 

 

23. Line not used on this form.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

CY No. / cee
C) Yes. Explain here:

44
Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2 page
 

Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

    

Fill in this information to identify your case:

Middie Name e Name
Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

 
    
  

Debtor 1

 

 

 

   
 
 

United States Bankruptcy Court for the: Eastern District of New York

Case number {-{ q ~ UU U9 -CEC (State)

(If known}

   

CJ Check if this is an

 

amended filing

Official Form 106Dec

 

Declaration About an Individual Debtor’s Schedules 42/16

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $260,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 162, 1341, 1619, and 3671.

Po Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Wd No

C) Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correc

   
 
 

 

Signature of Debtor 2

Date 1? Date

MMA DD //YYYY MM/ DD / YYYY

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules page 45
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Fill in this information to identify your case:

Debtor 1 { Almond Hude, uren-BLancheTle

 

 

 

 

First Nye Middie Name Las! Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of
Case number 4 q- uu dy Eastern District of New York ae
(ifknown) = CEC C] Check if this is an

amended filing

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

ao Give Details About Your Marital Status and Where You Lived Before

 

4. What is your current marital status?

Married
(2) Not married

2. Duringthe last 3 years, have you lived anywhere other than where you live now?

No
I} Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
C] Same as Debtor 1 C) same as Debtor 4
FROM ee _ From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
C1] same as Debtor 4 C] same as Debtor 1
From From
Number Street Number Street
To ee To _ oo
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
ai territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
No

C) Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

ie Explain the Sources of Your Income

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 46
Case 1-19-44942-Cec

Debtor 1

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Case number (irknown) f- 19- Yup qG ¢ aA- LEC,

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

We
Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 te December 31, ao 1 )
YYYY

For the calendar year before that:

(January 1 to December 31, AQ { q }
YYYY

Sources of: income
Check ail that apply.

C) Wages, commissions,

ww tips
Operating a business
Q Wages, commissions,
fo tips
Operating a business
L) wa s, commissions,
we tips
Operating a business

Gross income

(before deductions and
exclusions)

s___15,000-

Per mon,

s 1a ?, 000

Sources of income
Check all that apply.

t) Wages, commissions,

bonuses, tips
Q Operating a business

C) Wages, commissions,

bonuses, tips
Q Operating a business

Q Wages, commissions,

120 OOO _. bonuses. tips

$ f)

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends, money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

| Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

No
CI Yes. Fill in the details.

 

Gross income

(before deductions and
exclusions)

 

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,

aoe)

For the calendar year before that:
(January 1 to December 31, )
YYYY

Official Form 107

Sources. of income
Describe below.

Gross. income from
each source

(before deductions and
exclusions)

Sources of income
Describe below.

 

 

 

 

 

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Gross Income from
each source

(before deductions and
exclusions)

page 47

 
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Cc Ele Case number (it known) 1- 1 qG * Lut Guy = C EC

Debior 1

Middie Name Last Name

   

| Part 3: | List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1's or Debtor 2’s debts primarily consumer debts?
J No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

C) ‘© to line 7.

es. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

A * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.
Y

es. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

iA] No. Go to line 7.

LJ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

Dates of Total amount pald Amount you still owe Was this payment for...
payment
meu Yr s__G@Q0- 5 _ 0 wesoage
Creditor's Name we
Car
POR of /
0 XK 3 2 S e, ! CI credit card

 

Number Street

Chy rhCtr at eration 9/1 (2) Loan repayment
Nowock WY 10007 ] Suppliers or vendors
City f fate ZIP Code C1 other

$ 3 LL] Mortgage
CJ car

C} credit card

 

Creditors Name

 

Number Street
CY toan repayment

 

Q) Suppliers or vendors

 

 

 

City State ZIP Code CJ other
$ 8 Q Morigage
Creditor's Name
C] car
C) credit card

 

Number Street

CJ Loan repayment

 

) Suppliers or vendors
() other _.

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 48
Case 1-19-44942-Cec

Debtor 1

First Nam

Middle Name

 

Last Name

Doc lo Filed L0/Ol/Ly Entered LO/OlL/1S Lote fios

2 BUPEN-RlancHeTle

Case number (known) t- 1q- 44g). ~ CEE,

 

7, Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,

we child support and alimony.
No

(J Yes. List all payments to an insider.

Insider's Name

Dates of
payment

 

 

 

 

 

 

 

Number Street

City State ZIP Code
insider's Name

Number Street

City State ZIP Code

Total amount
pald

Amount you still
owe

Reason for this payment

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

“wo on debts guaranteed or cosigned by an insider.
No

C} Yes. List all payments that benefited an insider.

Dates of
payment

 

Total amount
pald

Amount you still
owe

Reason for this payment
__Jnelude credit

 

 

 

 

 

 

 

 

 

 

 

$
Insiders Name
Number Street
City State ZIP Code
$
Insider's Name
Number Street
City State ZIP Code

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 49

 
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

Debtor 4 Kavmond) Hude Buren) - BlancHele Case number (known {- {4- YG - CES

First Nathe Middle Name Last Narne

ad taentity Legal Actions, Repossessions, and Foreclosures
9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and <ontract disputes.

 

 

 

 

 

 

 

 

No
CJ Yes. Fill in the details.
Nature of the case Court or agency Status of the case
Case litle. Court Name C) Pending
LC) on appeal
Number Street O) conciuded
Case number
City State ZIP Code
Case title Court Name C) Pending
LI on appeal
Number Street (J concluded
Case number
City State ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?

ne that apply and fill in the details below.
No. Go to line 11.

(2 Yes. Fill in the information below.

Describe the property Date Value of the property

 

Creditar's Name

 

Number Street Explain what happened

| Property was repossessed.

 

C) Property was foreclosed.
Q) Property was garnished.

 

 

City State ZIP Code C) Property was attached, seized, or levied.

Describe the prope Date Value. of the property
prop!

 

Creditor’s Name

 

Number Street
Explain what happened

Property was repossessed.

 

Property was foreclosed.
Property was garnished.

 

City State ZIP Code

Oooo

Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 50
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

  
  

C: lene Case number tf known) 1 * 19- UUEAd) - CE,

Debtor 1

 

Middie Narne Last Name

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
4 or refuse to make a payment because you owed a debt?

No
C) Yes. Fill in the details.

 

 

 

 

 

Describe the. action the creditor took Date action Amount
was taken
Creditors Name
$
Number Street
City State ZIP Code Last.4 digits of account number: XXXX~—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
ower a court-appointed receiver, a custodian, or another official?
No

LI Yes

ae List Certain Gifts and Contributions

13. Withih 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
C] Yes. Fill in the details for each gift.

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
_ $
Persan to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Persan’s relationship to you
Gifts with a total value. of more than $600 Deserlbe the glfts Dates you gave Vatue
per person cutie nis Witte suiuinitmnnianni Cutan nine, He gifts
$
Person to Whom You Gave the Gift
3

 

 

Number Street

 

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 51
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

 
 

ee Case number (ifknawn) 1- 14- 4uUq 4 - CEC.

 

 

Debtor 1 Q on

First Nanje

   

Middle Nasne Last Name

e years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
No

LJ Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Vaiue
that total more than $600 contributed

 

Charity’s Name

 

Number Street

 

City State 2iP Code

re List Certain Losses

 

15, Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other

wa or gambling?
No

C) Yes. Fill in the details.

Describe the property you lost and Deserlbe any Insurance coverage for the loss Date of your Value of property

how the loss occurred . pas oo. loss lost
Include the amount that insurance.has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Includg-4ny attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

 

 

 

No
CL) Yes. Fill in the details.
Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid made
Number Street : $
3

 

 

 

City State ZIP Code

 

Email or website address

 

 

Person Who Made the Payment, if Not You

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 52

 

 
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lp Cc EME Case number (if known) 4-{G- UULOY A - CEC

Debtor 1

  

Last Name

     

Middle Name

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting.on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?

a any payment or transfer that you listed on line 16.
No

CJ Yes. Fill in the details.

 

 

 

 

 

Description and value of. any property transferred Date payment or Amount of payment
transfer was
_ made
Person Who Was Paid
Number ‘Street $
$

 

 

City State ZIP Code

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include 6th outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
include gifts and transfers that you have already listed on this statement.

    
 

No
C] Yes. Fill in the details.

Description and value of property Deseribe any property or payments received Date transfer
transferred or debts paid In exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person's relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 53

 
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Debtor 4 Qulrn oni Hude +UCEN -Bla NcHele Case number (if known), 4 -{ G- 4G Yo- CEC.

First Nanje Middle Name ast Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
woe (These are often called asset-protection devices.)
No
C) Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokérage houses, pension funds, cooperatives, associations, and other financial institutions.

No
(J Yes. Fill in the details.

 

Last 4 digits of account number Type of account or Date account was Last balance before
Instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial Institution
XXXX=_ C) checking $
OG Savings

 

Number Street
C) Money market

 

C] Brokerage

 

 

 

City State ZIP Code OQ Other
XXXX~ CI checking $
Name of Financial Institution
OQ Savings
Number Street QO Money market

a) Brokerage

 

OQ Other,

 

City State ZIP Code

21. Do you pow have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
ssp cash, or other valuables?
No

C] Yes. Fill in the details.

 

 

 

 

 

 

Who else had access to It? Describe the contents Do you still
have it?
] No
Name of Financial Institution Name I Yes
Number Street Number Street
City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 54

 

 
Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

   

ve Me Case number (if known) 1-14-44942. - CES

Debtor 1

  

Middie Name Last Name

     

22. haypou stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

C Yes. Fill in the details.

 

Who else has or had access to It? Describe the contents Do you still
have it?
GI No
Name of Storage Facility Name | Yes
Number Street Number Street

 

 

City State ZIP Code

 

City State ZIP Code

Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hetd in trust for someone.
No
Q) Yes. Fill in the details.
Where Is the property? Describe the property Value

 

Owner’s Name $

 

Number Street

 

Number Street

 

 

 

City State ZIP Code

 

City State ZIP Code

ae Give Detalls About Environmental Information

 

 

 

For the purpose of Part 10, the following definitions apply:

5s Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
inciuding statutes or regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any, governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

 

 

 

No
CG] Yes. Fill in the details.
Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 55
Case 1-1y-44942-cec DOoCclo Filed LO/Ol/1Ly

Debtor 1

 

Last Name

Middle Name

Firs! Nagie

25. wee notified any governmental unit of any release of hazardous material?
No

Ql Yes. Fill in the details.
Governmental unit

 

Name of site Governmental unit

 

Number Street Number Street

 

City State ZIP Cade

 

ZIP Code

City State

Environmental law, if you know it

entered LOjOL/19 Lote fio5

Case number (irknown) {- 14- Yt GE). = CEC,

Date of notice

26. ae been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
No

C) Yes. Fill in the details.

 

 

 

 

 

Court or agency Nature of the case Status of the
case
Case title QO
Court Name Pending
CJ on appeal
Number Street O Concluded
Case number City State ZIP Code

Give Detalls About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
yee proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
A

member of a limited liability company (LLC) or limited liability partnership (LLP)
Ola partner in a partnership
Q An officer, director, or managing executive of a corporation

(2 An owner of at least 6% of the voting or equity securities of a corporation
de None of the above applies. Go to Part 12.
Y.

es. Check all that apply above and fill in the details below for each business.

rim Meda

  
   
 
   

Describe the nature of the business

Media and Publichi ing books _
radio elevidton Conc

Name of accountant or bookkeeper

Business Name

49-22 Rd ret

Number Street

 

CO SCA NY WY

 

 

 

 

 

City tate ZIP Code

Describe the nature of the business
Business Name
Number Street

Name of accountant or bookkeeper
City State ZIP Code

Official Form 107

tt producer.

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Employer Identification number
Do not include Soclal Security number or ITIN.

we 4-319 3304

Dates business existed
From | QS To Reegait

Employer identification number
Do not include Soctal Security number or ITIN.

EIN: -

Dates business existed

From _. «‘To

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Case 1-1y-44942-cec Doclo Filed LO/Ul/Ly Entered LOjOl/19 LOle floss

© Debtor Kaymand Hide UceN- RLANCHErIC lE case number wmun,.1-14- Yuya -€EL

First Nanle Middle Name Last Name

Employer Identiflcation number
Do-not Include Soclal Security number or ITIN.

Describe the nature of the business

 

Business Name

 

 

- BINS Oe
Number Street Name of accountant or bookkeeper Dates business existed
From _ sé‘

 

City State ZIP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
instftutions, creditors, or other parties.

No
C) Yes. Fill in the details below.

Date Issued

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptey case-earrresult in fines up to $260,000, or imprisonment for up to 20 years, or both.

    

 

 

Signature of Debtor 2

Date

 

wd
Did you attach/additiortal pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

No
Q) Yes

Did you’pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No

C) Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 57
